1    LEILA W. MORGAN
     California State Bar No. 232874
2    FEDERAL DEFENDERS OF SAN DIEGO, INC.
     225 Broadway, Suite 900
3    San Diego, California 92101-5030
     Telephone: (619) 234-8467
4    Facsimile: (619) 687-2666
     Leila_Morgan@fd.org
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     Attorneys for
6    GREY ZAMUDIO
7                         UNITED STATES DISTRICT COURT
8                      SOUTHERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                CASE NO.: 20CR2451-WQH
11                      Plaintiff,            Hon. William Q. Hayes
                                              Courtroom 14B
12         v.                                 Date: June 21, 2021
                                              Time: 9:00 a.m.
13   GREY ZAMUDIO,
                                              SENTENCING MEMORANDUM
14                      Defendant.
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16         Grey Zamudio, by and through counsel, Leila W. Morgan and Federal
17   Defenders of San Diego, Inc., hereby files the following sentencing memorandum.
18   Mr. Zamudio requests this Court sentence him to 12 months and 1 day in custody,
19   followed by a three year term of supervised release.
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1    I.    Grey Zamudio
2          Grey Zamudio is a thirty-two year old man whose online persona is nothing
3    like the man that others know him to be. Mr. Zamudio has lived with his
4    grandfather, Robert Zamudio since he was a child. He has never known his father.
5    His mother suffered from mental illness and drug addiction that eventually led to
6    her complete absence from his life. Prior to moving in with his grandfather full time
7    at about 14, Mr. Zamudio had to essentially be the adult in his household. He cared
8    for his mother far more often than she did for him. He was left to find his own
9    meals, make sure he attended school and was worried about her stability. The
10   absence of her parenting him, left Mr. Zamudio lost and angry.
11         Mr. Zamudio’s grandfather has been his only constant. Robert Zamudio
12   knows Mr. Zamudio to be helpful, hardworking and caring. Robert first introduced
13   Mr. Zamudio to guns, and going to the shooting range soon became a shared hobby
14   for them. His grandfather had no idea that any of the items or weapons that
15   Mr. Zamudio had were unlawful. The man that Robert Zamudio knows is a man
16   who works hard, and who was happy to assist him, financially and otherwise.
17   Mr. Zamudio took on all the tasks that Robert was unable to do as he got older, and
18   did so gladly.
19         Mr. Zamudio has spent his entire adult life working, primarily as a plumber.
20   He is skilled at his trade and was able to not only support himself but assist his
21   grandfather as well. Mr. Zamudio enjoys working. He takes pride in his work and
22   enjoys learning more about his trade. He is hopeful that his felony conviction in
23   this case will not prevent him from working in this trade in the future.
24         Mr. Zamudio has fully accepted responsibility for his actions in this case. He
25   plead guilty very quickly. He did not file or argue any motions. He did not contest
26   the constitutionality of the crimes for which he is charged. He made the decision to
27   accept responsibility, acknowledge the crimes that he committed and plead guilty.
28   The government points to his post-arrest statement where he indicated a belief that

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1    the registration requirements were unconstitutional as an indication that he is at risk
2    of future criminal action. However, that ignores Mr. Zamudio’s acceptance of
3    responsibility and acknowledgment that he broke federal law by possessing the
4    charged weapons. A belief that the Federal Government may seek to unlawfully
5    infringe on the Second Amendment rights of its citizens is not unique to
6    Mr. Zamudio, or an indication of future criminal intent. Indeed, the state of
7    Missouri just enacted a law declaring all federal gun laws, past present and future
8    invalid in that state.1 The Missouri government, has evidenced a belief that federal
9    gun laws infringe upon the Second Amendment rights of its citizens.
10          Mr. Zamudio has no significant history of violence. His criminal history
11   consists of misdemeanor convictions that occurred more than 13 years ago. The
12   concern expressed by the probation officer and by the government, is a direct result
13   not of the things that Mr. Zamudio has done, but rather by the things that he has
14   said. While, understandably those statements when coupled with this offense, may
15   cause concern they do not present the complete picture. Mr. Zamudio was present
16   during the protests in La Mesa, following the killing of George Floyd. Those
17   protests turned violent. Businesses were burned and looted. People were injured.
18         Mr. Zamudio has been a resident of San Diego for nearly all of his life. His
19          grandfather has worked his entire life as a barber. Working in the very same
20   type of small businesses that were being impacted by the violent protests. Mr.
21   Zamudio went to the area, protected businesses and did so without violence. He
22   clearly had a very strong emotional reaction to what was happening, and he wrote
23   about those feelings online. But, importantly, he did not act on any of it.
24         This is Mr. Zamudio’s first experience of incarceration. He has been in
25   custody during an extremely difficult time. He spent months in San Luis, Arizona
26   where he was the victim of a racially motivated attack. Mr. Zamudio has lost his
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28       https://www.kcur.org/news/2021-06-12/missouri-law-enforcement-no-longer-
     required-to-enforce-federal-gun-laws
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1    right to possess firearms for the rest of his life. He will spend the next three years
2    of his life on supervised release, where he will be closely monitored, searched and
3    there will be certainty that he has no weapons of any kind. Even following that he
4    will never be allowed to own or possess a firearm or ammunition. He has been
5    sufficiently punished. The loss of his ability to own guns is sufficient to protect the
6    public.
7    II.   12 Months and 1 Day is Sufficient to Protect the Public
8          Mr. Zamudio is a first time offender. He has pled guilty to the possession of
9    unregistered firearms. Mr. Zamudio’s rhetoric, rather than his offense, is driving
10   both the probation officer and the government’s recommendation in this case.
11   Mr. Zamudio was cooperative at the time of his arrest. He cooperated during the
12   search of his home and with the seizure of his weapons. He was not arrested
13   brandishing these weapons, using them against others, selling them or otherwise
14   threatening anyone with them. His offense is the possession of them.
15         Mr. Zamudio’s conviction, and the arrest of another individual he was
16   communicating with became national news. Griggers, arrested in Georgia, was also
17   found to have illegal guns. Griggers position as a deputy sheriff, coupled with his
18   own bragging about beating a Black man made the story news worth. The media
19   attention given to the case will have a lasting impact on Mr. Zamudio. First, it places
20   him at risk in custody, simply because his arrest led to the arrest of another and
21   because his statements regarding people of color have become public knowledge.
22   Additionally, when he is released from custody any employer, landlord or person
23   who does a quick online search will see the articles detailing his conviction, and his
24   online posts. Mr. Zamudio will be dealing with the consequences of his statements
25   for years to come.
26         In addition to punishment, the Court must also fashion a sentence that will
27   promote correction and rehabilitation. Prison is one of the most racially segregated
28   places in our country. Prisoners self-segregate based on race as a means of
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1    protection and survival. Any racist ideology that Mr. Zamudio holds will only be
2    further entrenched in him during an extended time in custody. The racially
3    motivated attack that he was already a victim of, has demonstrated that safety in
4    custody means segregation.
5           Mr. Zamudio does not have a drug problem. He does not suffer from mental
6    illness. He shares and anger surrounding the political climate of our country that is,
7    unfortunately, not unique to him. He has marketable job skills, which he can use
8    immediately upon his release from custody. He has family support, and the support
9    of his grandfather’s friends in the community. He can be a productive and law
10   abiding member of society. The protection of the public is best served by assisting
11   Mr. Zamudio in truly integrating to his community, not separating him from it. His
12   period of supervision will allow him to work within his community, build positive
13   relationships with individuals of varying ideologies and move forward with his life.
14          Mr. Zamudio is still a young man. A young man who has been forced to look
15   at the very real consequences of his actions. His online bravado and his day to day
16   actions are not the same. Mr. Zamudio has been a contributing member of his
17   community in the past and he will be in the future.
18   III.   Proposed Changes to Conditions of Supervision
19          “The burden of establishing the necessity of any condition falls on the
20   government.” United States v. Rudd, 662 F.3d 1257, 1260 (9th Cir. 2011). A
21   restriction on the right to free association is only valid if it: “(1) ‘is reasonably
22   related to’ the goals of deterrence, protection of the public, and/or defendant
23   rehabilitation; (2) ‘involves no greater deprivation of liberty than is reasonably
24   necessary’ to achieve these goals; and (3) ‘is consistent with any pertinent policy
25   statements issued by the Sentencing Commission.” United States v. Soltero, 510
26   F.3d 858, 866 (9th Cir. 2007)(quoting United States v. Sales, 476 F.3d 732, 735 (9th
27   Cir. 2007). Here, the proposed special conditions of supervised release are vague
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1    and infringe upon Mr. Zamudio’s First Amendment rights of speech and
2    association.
3          A.       Condition 1.
4          The probation officer proposes that Mr. Zamudio be barred from any
5    demonstration, protest or rally, regardless of the purpose of the event. While
6    preventing Mr. Zamudio from attending any such demonstration that has the
7    potential for a violent response, his ability to attend events such as a political speech
8    (i.e., Trump rally) is overbroad.
9          B.       Condition 2
10         Mr. Zamudio will need to be able to use a cellular phone, including text
11   messaging during the course of his employment. Text messaging is a common
12   means of communication for his employment. He requests the ability to use this
13   means of communication, given the monitoring condition also requested.
14         C.       Condition 3
15         The term “extremist propaganda” is vague and does not sufficiently explain
16   what Mr. Zamudio can and cannot access. The probation officer offers some
17   limitation regarding the involvement of violent acts, there is no definition of what
18   would be considered extremist propaganda. Major news outlets such as Fox and
19   CNN have equally been referred to as propaganda from those who disagree with
20   them. Mr. Zamudio requests that the Court strike this condition as vague.
21         D.       Conditions 10, 11, and 12
22         In each of these conditions the probation officer seeks to prevent association
23   with “white supremacy groups” without providing any specific group or definition
24   of “white supremacy group.” The term “white supremacy group” is vague. Indeed,
25   the Republican party itself has been termed by some to be a white supremacy group,
26   that is an organization that seeks to maintain social and political domination by
27   white people. If the Court should impose these conditions, then they should be //
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1    limited to specific organizations to provide Mr. Zamudio notice of who he can and
2    cannot associate with.
3    IV.   Conclusion
4          A sentence of 12 months and 1 day, followed by a three year term of
5    supervised release is sufficient without being greater than necessary to satisfy the
6    purposes of sentencing in this case. Further, he requests that the conditions of
7    supervision be modified as requested above.
8                                          Respectfully submitted,
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10   Dated: June 17, 2021                  s/ Leila W. Morgan
                                           Federal Defenders of San Diego, Inc.
11                                         Attorneys for
                                           GREY ZAMUDIO
12                                         Email: Leila_Morgan@fd.org
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